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                        DEFINITIONS                                                                                                                            i


                        Words used         in   multiple sections of this document are defined below and other words arc defined          in   Sections
                        3 11 13 18 20 and 21 Certain rules regarding the usage of words used in this document arc also provided                                i
                        m Section 16
                        (A) "Security Instrument*1 means this document which is dated
                        together with all Riders to this document
                        (B) "Borrower" is                                                                                                                      i
                                                   TRIC BAKER and PATTI BAKER, HUSBAND and WIFE


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                        Borrower is the mortgagor under this Security Instrument
                        (C) "MERS" is Mortgage Electronic                      Registrationj
                                                                             Systems Inc MERS is a separate corporation that is
                        acting solely os a nominee for Lender and Lender s successors and assigns MERS ts the mortgagee under
                        this Security Instrument MERS is organized and ousting under the laws of Delaware and has an address
                        and telephone number of P 0 Bos 2026 Flint Ml 48501 2026 tel (888) 679 MERS
                        ( D) "Lender" is Liberty Mortgage Corporation (Georgia)                                                                            i

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                      tender is a  Corporation                                                                                                  \
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                      organized and existing under the laws of Georg I a
                      Lender saddress is 3720 Davxnci Court Suite 150                        Norcross , GA      30092
                                                                                                                                             i
                      ( E) " Note” means the promissory note signed by Borrower and dated as of the date hereof                              \
                      The Note states that Borrower owes Lender One Hundred Thirty One Thousand Two
                      Hundred and No /100                                                                                     Dollars
                      (US $ 131/ 200 00                    ) plus interest Sorrower has promised to pay this debt in regular Periodic
                                                                                                                                             i
                      Payments and to pay the debt in full not later than October 1 2035
                                                                                                                                            i
                      (b) " Property" means the property that ts desen bed below under the heading Transfer of Rights m the
                      Properly
I                     (G) "Loan" means the debt evidenced by the Note plus interest any prepayment charges and late charges
                      due under the Note and all sums due under this Security Instrument plus interest
                      (H) " Riders" means all Riders to this Security Instrument that are executed by Borrower The following
                      Riders are to be executed by Borrower [check box as applicable]                                                       i




                      §     Ad jistable Rale Rider
                            Balloon Rider
                            VA Rider
                                                        Condominium Rider
                                                        Planned Unit Development Rider
                                                        Biweekly Payment Rider
                                                                                             BCU -Second Home Rider
                                                                                                  1 4 Family Rider
                                                                                                  Others) [specify]
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i                     (I) "Applicable Law" means all controlling applicable federal state and local statutes regulations                t
                      ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final      l»
                      non appealable yidicial opinions                      j
                      (J ) Community Association Dues, Fees, and Assessments" means all dues fees assessments and other
                      charges that are unposed on Borrower or the Property by a condominium association homeowners                      I
                      association or similar organization                   j                                                           I
                      (K ) "Electronic Funds Transfer" means any transfer of funds other than a transaction originated by check
                      draft or similar paper instrument which is initiated through an electronic terminal telephonic instrument         t
                      computer or magnetic tape so as to order instruct, or authorize a financial institution to debit or credit an
                                                                                                                                        I
                      account Such term includes but is not limited to pomtofsafe transfers automated teller machine
                      transactions transfers initiated by telephone wire transfers and automated clearinghouse transfers                i

                      ( L) "Escrow Items" means those items that are desoibed in Section 3
                                                                                                                                        f


                      (M) "Miscellaneous Proceeds" means any compensation settlement award of damages or proceeds paid by
                      any third party (other than insurance proceeds paid under the coverages described m Section 5) for (J)
                      damage to or destruction of the Property (u) condemnation or other taking of all or any part of the Property
                      (in) conveyance in lieu of condemnation or (IV) misrepresentations of or omissions as to the value and/or
                      condition of the Property                              JJ
                      (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of or default on the            I
                                                                                                                                        1
                      Loan1                                                  li
                      (O) " Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
                      Note plus (i<) any amounts under Section 3 of this Security Instrument
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                      (P) "RFSPA"     means (he Real Estate Settlement Procedures Act (12 USC Section 2601 ct seq ) and its
                      implementing regulation Regulation X (24 CFR Part 3300) as they might be amended from time to time
                                                                                                    '



                      or any additional or successor legislation or regulation that governs (ne same
                                                                                                same subjsct matter As used m this
                      Security Instrument RESPA refers to all requirements and restrictions that are imposed in regard to a
                       fcdcraJl rdated mortgage ban even if the Loan’ does not qualify as a federally related mortgage loan

                              ^
                      (Q) "Successor in Interest of Borrower" means any party that has taken utle to the Property whether or not
                      that party has assumed Borrower s obligations under the Note and/br this Security Instrument
                      TRANSFER OF RIGHTS IN THE PROPERTY
                      This Security Instrument secures to Lender (i) the repayment of the Loan and all renewals extensions and
                      modifications of the Note and (u) the performance of Borrower s covenants and agreements under this
                      Security Instrument and the Note For this purpose1 Borrower does hereby mortgage grant and convey to
                      MERS (solely as nominee                            i                                                                     i
                      of MERS (he following d           property located m the County              {Type of Recording lansdbetico )
                                                                                                                                               1
                      of Hernando                                                                 {Name of Recording Jonsdiction )
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                      Parcel ID Number                                                              which currently has the address of     i

                      7393 Landmark Drive                                                                                       (Street)   i

                      Spring Hill                                                        (City )   Florida   34 606         I Zip Code)    «
                                                                                                                                           i

                      ( Property Address )
                           TOGETHER WITH all the improvements now or hereafter erected on the property and all casements                   i
                      appurtenances and fixtures now or hereafter a part ‘of the property AH replacements and additions shall also
                      be covered by this Security Instrument All of lhe|foregoing is referred to in this Security Instrument as the
                                                                                                                                           i


                       Properly Borrower understands and agrees that ] MERS holds only legal title to the interests granted by
                      Borrower in this Security Instrument but if necessary to comply with law or custom MERS (as nominee        for
J
                      Lender and Lender s successors and assigns) has the right to exercise any or all of those interests including
                      but hot limited to the right to foreclose and sell] the Property and to take  any  action required  of Lender
                      including but not limited to releasing and canceling dus Security Instrument
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                                  BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
                            the right to mortgage grant and convey the Property and that the Property is unencumbered except for
                            encumbrances of record Borrower warrants and will defend generally the title to the Property against all
                            claims and demands sub ct to any encumbrances of record
                                                     ^
                                 THIS SECURITY INSTRUMENT combines' uniform covenants for national use and non uniform
                            covenants with limited   variations   by jinsdiction to constitute a uniform security instrument covering real
                            property
                                                                                 i1
                                  UNIFORM COVENANTS Borrower and Lender covenant and agree as follows
                                  1 Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges
                            Borrower dial! pay when due the principal of and interest on the debt evidenced by the Note and any
                            prepayment charges and late charges due under die Note Borrower shall also pay funds for Escrow Items
                            pursuant to Section 3 Payments due under the Ijfpte and this Security Instrument shall be made in U S
                            currency However if any check or other instrument received by Lender as payment under the Note or this
                            Security Instrument is returned to Lender unpaid jLendcr may require that any or all subsequent payments
                            due under the Note and this Security Instrument bejmade in one or more of the following forms as selected
                            by Lender (a) cash (b) money order (c) certified (check bank check treasurer s check or cashier s check
                            provided any such check is drawn upon an institution whose deposits are insured by a federal agency
                            instrumentality or entity or (d) Electronic Funds Transfer
                                  Payments are deemed received by Lender wlien received at die location designated m the Note or at
                            such other location as may be designated by Lender in accordance with the notice provisions m Secuon IS
                            Lender may return any payment or partial payment if the payment or partial payments are insufficient to bring
                            the Loan current Lender may accept any payment or partial payment insufficient to bring the Loan current
                                                                                                                                             i
                            without waiver of any rights hereunder or    prcjidicejio
                                                                                   its rights to refuse such payment or partial payments m
                            the future but Lender is not obligated to apply such payments at the time such payments are accepted IT each
                            Periodic Payment is applied as of its scheduled due date then Lender need not pay interest on unapplied
                            funds Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current If
                            Borrower does not do so within a reasonable period of time Lender shall cither apply such funds or return
                            them to Borrower If not applied earlier such funds will be applied to the outstanding principal balance under    i
                            the Note immediately prior to foreclosure No offset or claim which Borrower might have now or in the
                            future agamst Lender shall relieve Borrower from] making payments due under the Note and this Security
                            Instrument or performing the covenants and agreements secured by this Security Instrument
                                  l Application of Payments or Proceeds Except as otherwise described in this Section 2 all payments
                            accepted and applied by Lender shall be applied ipjthe following order of priority (a) interest due under the
                            Note (b) principal due under the Note (c) amounts due under Section 3 Such payments shall be applied to
                            each Periodic Payment in the order m which H became due Any remaining amounts shall be applied first to
                            late charges second to any other amounts due unde* this Security Instrument and then to reduce the principal
                            balance of the Note                                ji
                                  If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
                            sufficient amount to pay any late charge due the payment may be applied to the delinquent payment and the        i
                            late charge If more than one Periodic Payment is outstanding Lender may apply any payment received from
                            Borrower to the repayment of the Periodic Payments if and to the extent that, each payment can be paid in


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                         full To the extent that any excess exists after the* payment is applied to the full payment of one or more
                         Periodic Payments such excess may be applied to any late charges due Voluntary prepayments shall be
                                                                                 '
                         applied first to any prepayment charges and then as described m the Note
                               Any application of payments insurance proceeds or Miscellaneous Proceeds to principal due under the
                         Note shall not extend or postpone the due date or change the amount of the Periodic Payments
                               3 Foods for Escrow Items Bomower shall pay to Lender on the day Periodic Payments are due under
                         the Note until the Note is paid in full a sum (thei Funds ) to provide for payment of amounts due for (a)
                         taxes and assessments and other items which canlauain pnonty over this Security Instrument as a lien or
                         encumbrance on the Property (b) leasehold payments or ground rents on the Property if any (c) premiums
                         for any and all insurance required by Lender under Section 5 and (d) Mortgage Insurance premiums if any
                         or any sums payable by Borrower to Lender m lieu of the payment of Mortgage Insurance premiums m
                         accordance with the provisions of Section 10 These items are called Escrow Items At origination or at any
                         ume during the term of the Loan Lender may' require that Community Association Dues Fees and
                         Assessments if any be escrowed by Borrower and such dues fees and assessments shall be an Escrow Item
                         Borrower shall promptly funush to, Lender all notices of amounts to be paid under this Section Borrower
                         shall pay Lender the Funds for Escrow Items unless Lender waives Borrower s obligation to pay the Funds              I
                         for any or all Escrow Items Lender may waive Borrower s obligation to pay to Lender Funds for any or all
                         Escrow Items at any ume Any such waiver may only be in writing In the event of such waiver Borrower
                         shall pay directly when and where payable the amounts due for any Escrow Items for which payment of
                         Funds has been waived by Lender and if Lender requires shall furnish to Lender receipts evidencing such
                         payment within such ume period as Lender may require Borrower s obligation to make such payments and                 I
                         to provide receipts shall for ail purposes be deemed to bo a covenant and agreement contained in this Security
                         Instrument as the phrase covenant and agreement is used in Section 9 If Borrower is obligated to pay
                         Escrow Items directly pursuant to a waiver and Borrower fails to pay the amount due for an Escrow Item
                         Lender may exercise its rights under Section 9 anij pay such amount and Borrower shall then be obligated
                         under Section 9 to repay to Lender any such amount Lender may revoke the waiver as to any or all Escrow
                         Items at any tune by a notice given in accordance with Section 15 and upon such revocation Borrower shall
                         pay to Lender all Funds and in such amounts that are then required under this Section 3                          I
                               Lender may at any time collect and hold Funds m an amount (a) sufficient to pemut Lender to apply
i
                         the Funds at the tune specified under RESPA and (b) not to exceed the maximum amount a lender can
                                                                             ]
                         require under RESPA Lender shall estimate the amount of Funds due on the basis of current data and
                                                                                                                                          \
                         reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law
                               The Funds shall be held in an institution whose deposits are insured by a federal agency instrumentality
                         or entity (including Lender if Lender is an  institutionwhose deposits are so insured) or in any Federal Home
                         Loon Bank Lender shall apply the Funds to payj the Escrow Items no later than the ume specified under
                         RESPA Lender shall not charge Borrower for holding and applying the Funds annually analyzing the
                                                                             [
                         escrow account or verifying the Escrow Items unless Lender pays Borrower interest on the Funds and
                         Applicable Law permits Lender to make such a charge Unless an agreement t$ made in writing or Applicable
                         Law requires interest to be paid on the Funds Lender shall not be required to pay Borrower any interest or
                         earnings on the Funds Borrower and Lender can agree in wntmg however that interest shall be paid on the
                         Funds Lender shall give to Borrower without charge an annual accounting of the Funds as required by
                         RESPA                                              I                                                             \


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                                       If there is a surplus of Funds held in    escrow as defined under RESPA Lender shall account to
                                Borrower for the excess funds in accordance with RESPA If there is a shortage of Funds held m escrow as
                                                                                                                                                             I
                                                                                                                                                             I
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                                defined under RESPA Lender shall notify Borrower as required by RESPA and Borrower shall pay to
                                Lender the amount necessary to make up die shortage in accordance with RESPA but in no more than 12
                                                                                                                                                             I
                                monthly payments If there is a deficiency of Funds held m escrow as defined under RESPA Lender shall
                                notify Borrower as required by RESPA and Borrower shall pay to Lender the amount necessary to make up
                                the deficiency m accordance with RESPA but m no more than 12 monthly payments
                                       Upon payment m hill of all sums secured by this Security Instrument Lender shall promptly refund to
                                Borrower any Funds held by Lender                  |                                                                     t
    I
                                      4 Charges, Liens Borrower shall pay all taxes assessments charges fines and impositions                            I
                                attributable to the Property which can attain priority over this Security Instrument, leasehold payments or              I
                                ground rents on the Property if any and Community Association Dues Fees and Assessments if any To ihe                    l
                                extent dial these items are Escrow Items Borrower shall pay them m the manner provided m Section 3                       I
                                       Borrower shall promptly discharge any hen ] which has priority over this Security Instrument unless               I

                                Borrower (a) agrees in writing to the payment of the obligation secured by the hen in a manner acceptable to
                                Lender but only so long as Borrower » performing such agreement (b) contests the lien in good faith by or                I
                                                                                                                                                         1
                                defends against enforcement of the hen m legal proceedings which in Lender s opinion operate to prevent the
                                enforcement of the hen while those proceedings aro pending but only until such proceedings are concluded
                                or (c) secures from the holder of the hen an agreement satisfactory to Lender subordinating the lien to this
                                Security Instrument If Lender determines that any [ part of the Property is sub pci to a lien which can attain
                                priority over this Security Instrument Lender may give Borrower a notice identifying the hen Within 10
                                days of the date on which that notice is given Borrower shall satisfy the lien or lake one or more of the
                                                                                                                                                         I
r
                                actions set forth above in this Section 4          11
                                       Lender may require Borrower to pay a one umc charge for a real estate tax verification and&r reporting
                                service used by Lender in connocuon with this Loan
                                      5 Property Insurance Borrower shall keepjlhe improvements now existing or hereafter erected on the
                                Property insured against loss by fire hazards included within the term extended coverage and any ocher               I
                                hazards including but not limned to earthquakes and floods for which Lender requires insurance This
                                insurance shaJJ be maintained in the amounts (including deductible levels) and for the periods that Lender
                                requires What Lender requires pursuant to the preceding sentences can change during the term of the Loan             I
                                The insurance earner providing the insurance sriall be chosen by Borrower sublet to Lender s right to
                                disapprove Borrowers choice which nghi shall not be exercised unreasonably Lender may require
                                Borrower to pay in connection with this Loan either (a) a one time charge for flood zone determination
                                certification and tracking services or (b) a one time charge for flood zone determination and certification
                                services mid subsequent charges each time remapping* or similar changes occur which reasonably might             i
                                affect such determination or ceruficauon Borrower shall also be responsible for the payment of any fees
                                imposed by the Federal Emergency ManagemeatjXgoncy in connection with the review of any flood zone                   I
                                determination resulting from an objection by Borrower
                                       If Borrower fails to maintain any of the coverages described above Lender may obtain insurance
                                coverage at Lender s option and Borrower s expense Lender is under no obligation to purchase any                 l
                                particular type or amount of coverage Therefore I such coverage shall cover Lender but might or might not        »
                                protect Borrower Borrower s equity in the Property or the contents of the Property against any risk hazard

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i                       or liability and might provide greater or lesser coverage than was previously in effect Borrower
                        acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
                        insurance that Borrower could have obtained Any amounts disbursed by Lender under this Section S shall
                        become additional debt of Borrower secured by ihislSccunty Instrument These amounts shall bear interest at
                        the Note rate Grom the daze of disbursement and shall be payable with such interest upon notice from Lender
                        to Borrower requesting payment                      j1
i
                              All insurance policies required by Lender and renewals of such policies shall be subject to Lender s
                        right to disapprove such policies shad include d! standard mortgage clause and shall name Lender as
                        mortgagee and/or as an additional loss payee Lender shall have the nght to hold the policies and renewal
                        certificates If Lender requires Borrower shall promptly give to Lender all receipts of paid premiums and
                        reoewal notices If Borrower obtains any form of insurance coverage not otherwise required by Lender for
                        damage to or destruction of the Property such policy shall include a standard mortgage clause and shall
                        name Lender as mortgagee and/or as an additional loss payee
                              In the event of loss Borrower shall give prompt notice to the insurance earner and Lender Lender may
                        make proof of loss if not made promptly by Borrower Unless Lender and Borrower otherwise agree in
                        writing any insurance proceeds whether or not the underlying insurance was required by Lender shall be
                        applied to restoration or repair of the Property if the restoration or repair is economically feasible and
                        Lender a security is not lessened During such repair and rcsiorauoo period Lender shall have the right to
                        hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work
                        has been completed to Lender s satisfaction provided that such inspection shall be undertaken promptly
                        Lender may disburse proceeds for the repairs andl restoration m a single payment or in a senes of progress
                        payments as the work is completed Unless an agreement is made in writing or Applicable Law requires
                        interest to be paid on such insurance proceeds Lender shall not be required to pay Borrower any interest or
                        earnings on such proceeds Fees for public ad jistcrs or other third panics retained by Borrower shall not be
                        paid out of the insurance proceeds and shall be the sole obligation of Borrower If the restoration or repair is
                        not economically feasible or Lender s security would be lessened the insurance proceeds shall be applied to
                        the sums secured by this Security Instrument whether or not then due with the excess if any paid to
                        Borrower Such insurance proceeds shall be applied in the order provided for m Section 2
                              If Borrower abandons the Property Lender may file negotiate and settle any available insurance claim
                                                                           '
                        and related matters If Borrower docs not respond within 30 days to a notice from Lender that the insurance
                        earner has offered to settle a claim then Lender may negotiate and settle the claim The 30 day period will
                        begin when the notice is given In either event or if Lender acquires the Property under Section 22 or
                        otherwise Borrower hereby assigns to Lender (a) Borrower s rights to any insurance proceeds in an amount
                        not to exceed the amounts unpaid under the Note or this Security Instrument and (b) any other of Borrower s
                        nghts (other than the nght to any refund of unearned premiums paid by Borrower) under all insurance
                        policies covering the Property insofar as such nghts are applicable to the coverage of the Property Lender
                        may use the insurance proceeds either to repair or' restore the Property or IO pay amounts unpaid under the
                        Note or this Security Instrument whether or not that due
                              6 Occupancy Borrower shall occupy establish and use the Property as Borrower s principal residence
                        within 60 days after the execution of this Security Instrument and shall continue to occupy the Property as
                        Borrower s principal residence for at least one year after the date of occupancy unless Lender otherwise


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                        agrees ui writing which consent shall not be unreasonably         withheld or unless extenuating   circumstances
                        exist which are beyond Borrower s control            j]
                              7 Preservation, Maintenance and Protection of the Property, Inspections Borrower shall not
                        destroy damage or impair the Property allow the Property to deteriorate or commit waste on the Property
                                                                            !j
                        Whether or not Borrower is reading,in the Property Borrower shall maintain the Property in order to prevent
                        the Property from deteriorating or decreasing in value due to its condition Unless it is determined pursuant to     \
                                                                                                                                            i
                        Section 5 that repair or restoration is not economically feasible Borrower shall promptly repair the Property if
                        damaged to avoid further deterioration or damage If insurance or condemnation proceeds are paid m
                        connection with damage to or the taking of die Property Borrower shall be responsible for repairing or             *
                        restoring the Property only if Lender has released proceeds for such purposes Lender may disburse proceeds
                        for the repairs and restoration in a single payment or in a senes of progress payments as the work is
                        completed If the insurance or condemnation proceeds are not sufficient to repair or restore the Property           i
                        Borrower is not relieved of Borrower s obligation for the completion of such repair or restoration                 l
                              Lender or ns agent may malcc reasonable entries upon and inspections of the Property If it has               i
                                                                             jof
                        reasonable cause Lender may inspect the mtenor the improvements on the Property Lender shall give
                        Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause
                             8 Borrower's Loan Application Borrower shall be in default if during the Loan application process
                        Borrower or any persons or entities acting at the direction of Borrower or with Borrower s knowledge or
                        consent gave materially false misleading or inaccurate information or statements to Lender (or faded to
                        provide Lender with material information) m connection with the Loan Material representations include but
                        are not limited to representations concerning Borrower s occupancy of the Property as Borrower s principal
                        residence                                           III!
                              9 Protection of Lender's Interest m the Property and Rights Under this Security Instrument If
                        (a) Borrower fads to perform die covenants and agreements contained in this Security Instrument, (b) there is
                        a legal proceeding that might significantly affect Lender s interest in the Property and/br rights under this
                        Security Instrument (such as a proceeding in bankruptcy probate for condemnation or forfeiture for
                        enforcement of a lien which may, attain priority ] over this Security Instrument or to enforce laws or
                        regulations) or (c) Borrower has abandoned the Property then Lender may do aid pay for whatever is
                        reasonable or appropriate to protect Lenders interest in die Property and rights under this Security
                        Instrument including protecting andA* assessing the value of the Property and securing andto repairing
i
                        the Property Lender s actions can include but are not limited to (a) paying any sums secured by a hen which
i
i                       has priority over this Security Instrument (b) appearing m court and (c) paying reasonable attorneys fees to
                        protect Us interest in the Property and/hr rights under this Security Instrument including its secured position    i
                        in a bankruptcy proceeding Securing the Property j includes but is not limned to entering the Property to
                        make repairs change locks replace or board up j doors and windows dram water from pipes eliminate
                        building or other code violations or dangerous conditions and have utilities turned on or off Although
                        Lender may take action under this Section 9 Lender does not have to do so and is not under any duty or
                                                                              *
                        obligation to do so It is agreed that Lender incurs no liability for not taking any or ail actions authorized
                                                                             |
                        under this Section 9                   1

                              Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
                        secured by this Security Instrument These amounts shall bear interest at the Note rate from the date of


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                      disbursement and shall be payable with such interest upon nonce from Lender to Borrower requesting                   !
                      payment                                               j
                            If this Security Instrument is on a leasehold Borrower shall comply with all the provisions of the lease
                      if Borrower acquires fee title to the Property the leasehold and the fee title shall not merge unless Lender
i                     agrees to the merger tn writing                     ||
                            10 Mortgage Insurance If Lender required Mortgage Insurance as a condition of making the Loan
                       Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect If for any reason
                      the Mortgage Insurance coverage required by Leniler ceases to be available from the mortgage insurer that
                                                                            !
                      previously provided such insurance and Borrower was required to make separately designated payments
                      toward the premiums for Mortgage Insurance Borrower shall pay the premiums required to obtain coverage
                                                                                                                                           i

                      substantially equivalent to the Mortgage Insurance previously m effect at a cost substantially equivalent to
                      the cost to Borrower of the Mortgage Insurance previously in effect from an alternate mortgage insurer
                      selected by Lender If substantially equivalent Mortgage Insurance coverage is not available Borrower shall
                      continue to pay to Lender the amount of (he separately designated payments that were due when the insurance
                      coverage ceased to be in effect Lender will accept 1 use and retain these payments as a non refundable loss
                      reserve in lieu of Mortgage Insurance Such loss reserve shall be non refundable notwithstanding the feet that
                      the Loan is ultimately paid in full and Lender shall] not be required to pay Borrower any interest or earnings
                      on such loss reserve Lender can no longer require'loss reserve payments if Mortgage Insurance coverage (m
                      the amount and for the period that Lender requires)' provided by an insurer selected by Lender again becomes
                      available is obtained and Lender requires separately designated payments toward the premiums for Mortgage            I
                                                                            !
                      Insurance If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
                      required to make separately designated payments toward the premiums for Mortgage Insurance Borrower
                      shall pay the premiums required to maintain Mortgage ' Insurance in effect or to provide a non refundable loss
                      reserve until Lender s requirement for Mortgage Insurance ends in accordance with any written agreement
                                                                        .
                      between Borrower and Lender providing for such termination or unul termination is required by Applicable
                      Law Nothing m this Section 10 affects Borrower sjobbgatxm to pay interest at the rate provided in the Note
                            Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
                      incur if Borrower does not repay the Loan as agreed Borrower is not a party to the Mortgage Insurance
                            Mortgage insurers evaluate their total risk onfall such insurance m force from time to tune and may        l
                      enter into agreements with other parties that share or modify their risk or reduce losses These agreements are
                      on terms and conditions that arc satisfactory to the mortgage insurer and the other party (or panics) to these
                      agreements These agreements may require the mortgage insurer to make payments using any source of funds
                      that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance
                      premiums)                                         11
                             As a result of these agreements Lender anyjpurchaser of the Note another insurer any reinsurer any
                      other eauty or any affiliate of any of the foregoing may receive (directly or indirectly) amounts that derive
                      from (or might be characterized as) a portion of Borrower $ payments for Mortgage Insurance in exchange
                      for sharing or modifying the mortgage insurer s n$k or reducing losses If such agreement provides that an
                      affiliate of Lender takes a share of the insurer s nsk in exchange for a share of the premiums paid to the
                      insurer the arrangement is often termed captive reinsurance Further
                             (a ) Any such agreements wit) not affect! the amounts that Borrower has agreed to pay for
                      Mortgage Insurance, or any other terms of the ( Loan Such agreements will not increase the amount
                      Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund
                             (b) Any such agreements wiO not afreet the rights Borrower has if any with respect to the
                      Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law These rights may
                      include the right to receive certain disclosures,1 to request and obtain cancellation of the Mortgage
                      Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
                      Mortgage Insurance premiums that were unearned at the time of such cancellation or termination                   »
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                                It Assignment of Miscellaneous Proceeds, Forfeiture All Miscellaneous Proceeds are hereby                        i
                          assigned to and shall be paid to Lender               I?
                                ii inc Property is damaged such Miscellaneous Proceeds shall be applied to restoration or repair of die
                          Property if the restoration or repair is economically feasible and Lender s security is not lessened During
                          such repair and restoration period Lender shall have the right to hold such Miscellaneous Proceeds until
                          Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender $
                          satisfaction provided that such inspection shall be undertaken promptly Lender may pay for the repairs and
                          restoration ut a single disbursement or in a senes of progress payments as the work ts completed Unless an
                          agreement is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds
                          Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds If the
                          restoration or repair is not economically feasible or|Lender s security would be lessened the Miscellaneous
                          Proceeds shall be applied to the sums secured by this Security Instrument whether or not then due with the
                          excess if any paid to Borrower Such Miscellaneous Proceeds shall be applied in the order provided for m
                          Section 2                                            ]|
                                                                              ii
                                In the event of a total takmg destruction or loss in value of the Property the Miscellaneous Proceeds
i                         shall bo applied to the sums secured by this Security Instrument whether or not then due with the excess if
                          any paid to Borrower                                 l|
                                In the event of a partial taking destruction or loss in value of the Property in which the fair market
                          value of the Property immediately before the parnaljtaking destruction or loss in value ts equal to or greater
                          than the amount of the sums secured by this Security Instrument immediately before the partial taking
                          destruction or loss in value unless Borrower and liender otherwise agree m writing the sums secured by this
                          Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
                          following fraction (a) the total amount of the sums'secured immediately before the partial taking destruction
                          or loss m value divided by (b) the fair market value of the Property immediately before the partial takmg
                          destrucuon or loss m value Any balance shall be paid to Borrower                                                   i
                                In the event of a partial takmg destruction or loss in value of the Property in which the fair market
                          value of the Property immediately before the partial taking destruction or loss in value is less than the
                                                                                  '
                          amount of the sums secured immediately before the partial takmg destruction or loss in value unless
                          Borrower and Lender otherwise agree m writing { the Miscellaneous Proceeds shall be applied to the sums
                          secured by this Security Instrument whether or not the sums are then due
                                If the Property ts abandoned by Borrower or ] if after notice by Lender to Borrower that the Opposing
                          Party (as defined m the next sentence) offers to make an award to settle a chum for damages Borrower fails
                          to respond to Lender within 30 days after the date the notice is given Lender is authorized to collect and
                          apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
                          Security Instrument whether or not then due Opposing Party means the third party that owes Borrower
                          Miscellaneous Proceeds or the party against whom Borrower has a right of action m regard to Miscellaneous
                          Proceeds                                            I*
                                Borrower shall be m default if any action or proceeding whether cml or criminal is begun that, in
                          Lender s judgment could result in forfeiture of the Property or other material impairment of Lender s interest
                          in the Property or rights under this Security Instrument Borrower can cure such a default and if acceleration
                          has occurred reinstate as provided in Section 19 by causing the action or proceeding to be dismissed with a
                          ruling that m Lender s jidgment precludes forfeiture of the Property or other material impairment of
                          Lender s interest in the Property or rights under this Security Instrument The proceeds of any award or claim
                          for damages that are attributable to the impairment of Lender s interest in the Property are hereby assigned
                          and shall be paid to Lender                         I!                          ,
                                All Miscellaneous Proceeds that are not applied to restoration or repair of the ^
                                                                                                            L             L
                                                                                                                Property shall ^be applied
                          m the order provided for in Section 2               Ii                                                       ,
                                12 Borrower Not Released, Forbearance! By Lender Not a Waiver Extension of the Ume for
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                          payment or modification of amortization of the sums secured by this Security Instrument granted by Lender
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                           lo Borrower or any Successor m Imerest of   Borrow shall not operate to release the liability of Borrower or
                           any Successors in Interest of Borrower Lender shall not be required to commence proceedings against any
                           Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization
                           of the sums secured by this Security Instrument by[ reason of any demand made by the original Borrower or
                           any Successors in Interest of Borrower Any forbearance by Lender in exercising any right or remedy                       i
                           including without limitation Lender s acceptance of payments from third persons entities or Successors in
                           Imerest of Borrower or in amounts less than the amount then due shall not be a waiver of or preclude the
                           exercise of any right or remedy                    ||
                                 13 Joint and Several Liability, Co signers, Successors and Assigns Bound Borrower covenants and
                           agrees that Borrower $ obligations and liability shall be pint and several However any Borrower who
                           co signs this Security Instrument but does not execute the Note (a co signer ) (a) isco signing this Security
                           Instrument only to mortgage grant and convey theco signer s interest in the Property under the terms of this             i
                           Security Instrument (b) is not personally obligated to pay the sums secured by (his Security Instrument and
                           (c) agrees that Lender and any other BOITOWCTI can agree to extend modify forbear or make any
                           accommodations with regard to the terms of this (Security Instrument or the Note without the co signer s
                           consent                                              II
                                 Subject to the provisions of Section 18 any Successor in Imerest of Borrower who assumes Borrower s
                           obligations under this Security Instrument m writing and is approved by Lender shall obtam all of
                           Borrowers rights and benefits under this Security Instrument Borrower shall not be released from
                           Borrower s obligations and liability under this Sccbnty Instrument unless Lender agrees to such release in           I
                           wnung The covenants and agreements of this Security Instrument shall bind (except as provided m Section
                           20) and benefit the successors and assigns of Lender
                                 14 Loan Charges Lender may charge Borrower fees for services performed in connection with                      I
                           Borrowers default lor the purpose of protectingjLender s interest m the Property and rights under this
                           Security Instrument including but not limited to attorneys fees property inspection and valuation fees In
                           regard to any other fees the absence of express authority in this Security Instrument to charge a specific fee
                           to Borrower shall not be construed os a prohibition[on the charging of such fee Lender may not charge fees
                           that are expressly prohibited by this Security Instrument or by Applicable Law
                                 If the Loan is subject to a law which sets maximum loan charges and that law is finally interpreted so
                           that the interest or other loan charges collected or|to be collected m connection with the Loan exceed the
                           permitted limits then (a) any such loan charge shall be reduced by the amount necessary to reduce the charge
                           to the permitted limit and (b) any sums already collected from Borrower which exceeded permitted limits
                           will be refunded to Borrower Lender may choose] to make this refund by reducing the principal owed under
                           the Note or by making a direct payment to Borrower If a refund reduces principal the reduction will be
                           treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
                           provided for under the Note) Borrower s acceptance of any such refund made by direct payment to Borrower
                           will constitute a waiver of any right of action Borrower might have arising out of such overcharge
                                 15 Notices All notices given by Borrower or Lender in connection with dus Security Instrument must
                           be in writing Any notice to Borrower in connection with this Security Instrument shall be deemed to have
                           been given to Borrower when mailed by first class mail or when actually delivered to Borrower s notice
                           address if sent by other means Notice to any onV Borrower shall constitute notice to all Borrowers unless        l
                           Applicable Law expressly requires otherwise The notice address shall be the Property Address unless
                           Borrower has designated a substitute notice address by notice to Lender Borrower shall promptly notify
                           Lender of Borrower s change of address If Lender specifies a procedure for reporting Borrower s change of
                           address then Borrower shall only report a changejof address through that specified procedure There may be
                           only one designated notice address under this Security Instrument at any one tune Any notice to Lender shall
I                          be given by delivering it or by mailing it by first[class mad to Lender s address staled herein unless Under
                           has designated another address by notice to Borrower Any notice in connection with this Security Instrument
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                       shall not bedeemed to have been given to Lender until actually received by Leader If any notice required by
                       this Security Instrument is also required under Applicable Law the Applicable Law requirement will satisfy
                       the corresponding requirement under this Security Instrument
                             16 Governing Law, Severability , Rules of Construction This Security Instrument shall be governed                   i

                       by federal taw and the law of the jmsdicuon in which the Property is located All rights and obligations
                       contained m this Security Instrument are subject to any requirements and limitations of Applicable Law
                       Applicable Law might explicitly or implicitly allow the parties to agree by contract or u might be silent but             i
                       such silence shall not be construed as a prohibition against agreement by contract In the event that any                  J
                       provision or clause of this Security Instrument or iht Note conflicts with Applicable Law such conflict shall
                       not affect other provisions of this Security Instrument or the Note which can be given effect without the
                       conflicting provision                               j |                                                                   i
                             As used m this Security Instrument (a) words of the masculine gender shall mean and include
                       corresponding neuter words or words of the feminine   i
                                                                                gender (b) words tn the singular shall mean and
                       include the plural and vice versa and (c) the word        gives sole discretion without any obligation to take
                                                                            ir
                                                                                                                                                 i
                       any action
                             17 Borrower's Copy Borrower shall be given one copy of the Note and of this Security Instrument
                             18 Transfer of the Property or a Beneficial Interest m Borrower As used in this Section 18                      i

                         Interest in the Property means any legal or beneficial interest in the Property including but not limited to        \
                       those beneficial interests transferred in a bond for deed contract for deed installment sales contract or escrow
                       agreement (he intent of which is the transfer of otic by Borrower at a future date to a purchaser
                              If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is   X

                       not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender s prior written
                       consent Lender may require immediate payment tin full of all sums secured by this Security Instrument                 I

                       However this option shall not be exercised by Lender if such exercise is prohibited by Applicable law
I                             If Lender exercises this option Lender shalljgive Borrower notice of acceleration The nouce shall
                       provide a penod of not less than 30 days from the dale the notice is given in accordance with Section 15
                       widun which Borrower must pay all sums secured by this Security Instrument If Borrower fads to pay these
                       sums prior to the expiration of this penod Lender may invoke any remedies permitted by this Security                  I
                       Instrument without further notice or demand on Borrower
                             19 Borrower's Right to Reinstate After! Acceleration If Borrower meets certain conditions
                       Borrower shall have the nght to have enforccmem|6f this Security Instrument discontinued at any time prior            I
                       to the earliest of (a) five days before sale of the Property pursuant to any power of sale contained in this
                       Security Instrument (b) such other penod as Applicable Law might specify for the termination of Borrower s            1
                       right lo reinstate or (c) entry of a jidgment enforcing this Security Instrument Those conditions are that
                       Borrower (a) pays Lender all sums which then would be due under this Security Instrument and the Note as
                       if no acceleration had occurred (b) cures any default of any other covenants or agreements (c) pays all
                       expenses incurred m enforcing this Security Instrument including but not limited to reasonable auomeys
                       fees property inspection and valuation fees and other fees incurred for the purpose of protecting Lender s
                       interest m the Property and rights under this Security Instrument and (d) takes such action as Lender may
                       reasonably require lo assure that Lender s interest in the Property and rights under this Security Instrument


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                               and Borrower s obligation u> pay the sums secured by Dus Security instrument, shat! continue unchanged
                               Lender may require that Borrower pay such remstaianem sums and expenses m one or more of the following
                               forms as selected by Lender (a) cash (b) money order (c) certified check bank check treasurer s check or
                               cashier s check provided any such check is drawn upon an institution whose deposits are insured by a federal
                               agency instrumentality or entity or (d) Electronic j Funds Transfer Upon reinstatement by Borrower this
                               Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had
                               occurred However this right to reinstate shall not apply in the case of acceleration under Section 18
                                     29 Sale of Note, Change of Loan Servicer, Notice of Grievance The Note cur a partial interest in the
                                                                                    [
                               Note (together with this Security Instrument) can be 'sold one or more tunes without pnor notice to Borrower
                               A sale might result in a change w the entity (known as the Loan Servicer ) that collects Periodic Payments
                               doe under the Note and this Security Instrument [and performs other mortgage loan servicing obligations
                               under the Note dus Security Instrument and Applicable Law There also might be one or more changes of
                               the Loan Servicer unrelated to a sale of the Note Ifjthcre is a change of the Loan Servicer Borrower will be
    I                          given written notice of the change which will state the name and address of the new Loan Servicer the
                               address to which payments should be made and any other information RESPA requires in connection with a
                               notice of transfer of servicing If the Note is sold ana thereafter the Loan is serviced by a Loan Servicer other
                               than the purchaser of the Note the mortgage bam servicing obligations to Borrower will remain with the
                               Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the Note purchaser
                               unless otherwise provided by the Note purchaser |    j
                                     Neither Borrower nor Lender may commence join or be pined to any judicial action (as either an
                               individual litigant or the member of a class) that arises from the other party s actions pursuant to this Security
    I                          Instrument or that alleges that the other party has breached any provision of or any duty owed by reason of
                               this Security Instrument until such Borrower or Lender has notified the other party (with such notice given in
                               compliance with the requirements of Section 15) ofsuch alleged breach and afforded the other party hereto a
                                                                                        .
                               reasonable period after the giving of such nouce to take corrective action If Applicable Law provides a time
                               period which must elapse before certain action canjbc taken that time period will be deemed to be reasonable
                               for purposes of this paragraph The notice of acceleration and opportunity to cure given to Borrower pursuant
                               to Section 22 and the notice of acceleration given ) to Borrower pursuant to Section 18 shall be deemed to
                               satisfy the nouce and opportunity to take corrective action provisions of this Section 20
                                     21 Hazardous Substances As used in this Section 21 (a) Hazardous Substances ore those
                               substances defined as toxic or hazardous substances pollutants or wastes by Environmental Law and the
                               following substances gasoline kerosene other flammable or toxic petroleum products toxic pesticides and
                               herbicides volatile solvents materials containing) asbestos or formaldehyde and radioactive materials (b)
                                Environmental Law means federal laws and laws 1of the jurisdiction where the Property is located that relate
                               to health safety or environmental protection (c) Environmental Cleanup includes any response action




                                                                                   -
                               remedial action or removal actum as defined in Environmental Law and (d) an Environmental Condition
                               means a condition that can cause contribute to or otherwise trigger an Environmental Cleanup
i                                    Borrower shall not cause or permit the presence use disposal storage or release of any Hazardous
                               Substances or threaten to release any Hazardous [Substances on or m the Property Borrower shall not do
                               nor allow anyone else ID do anything affecting the Property (a) that is m violation of any Environmental


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    »                  Law (b) which creates an Environmental Condition or (c) which due to the presence use or release of a
                       Hazardous Substance creates a condition that adversely affects the value of the Property The preceding two              I
                       sentences shall not apply to the presence use or storage on the Property of small quantities of Hazardous
                       Substances that are generally recognized to be appropriate to normal residential uses and to maintenance of
I                      the Property (including but not limited to hazardous substances in consumer products)
                             Borrower shall promptly give Lender written 'notice of (a) any investigation claim demand lawsuit or              i

                       other action by any governmental or regulatory agency or private party involving the Property and any                   I
                       Hazardous Substance or Environmental Law of which Borrower has actual knowledge (b) any
                       Environmental Condition including but not limited to any spilling leaking discharge release or threat of
                                                                                     |
                       release of any Hazardous Substance and (c) any condition caused by the presence use or release of a
                       Hazardous Substance which adversely affects the value of the Property If Borrower teams or is notified by
                       any governmental or regulatory authority or any private party that any removal or other remediation of any
                       Hazardous Substance affecting the Property is necessary Borrower shall promptly take all necessary remedial
                       actions in accordance with Environmental Law Nothing herein shall create any obligation on Lender for an
                       Environmental Cleanup

                             NON UNIFORM COVENANTS Borrower and Lender further covenant and agree as follows                               I


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                             22 Acceleration, Remedies Lender shall give notice to Borrower prior to acceleration following
                       Borrower’s breach of any covenant or agreement in this Security Instrument (but not prior to
                       acceleration under Section lg unless Applicable) Law provides otherwise) The notice shall specify (a)
                       the default, (b) the action required to cure the default, (c) a date, not less than 30 days from the date
                       the notice is given to Borrower, by which the default must be cured, and (d) that failure to cure the
                       default on or before the date specified in the notice may result in acceleration of the sums secured by
                       this Security Instrument, foreclosure by judicial proceeding and sate of the Property The notice shall              I
                                                                                                                                           »
                       further inform Borrower of the right to reinstate after acceleration and the right to assert in the
                       foreclosure proceeding the non existence of a default or any other defense of Borrower to acceleration
                       and foreclosure If the default is not cured on or before the date specified in the notice, Lender at its
                       option may require immediate payment m hill of all sums secured by this Security Instrument without
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                       farther demand and may foreclose this Security Instrument by judicial proceeding Lender shall be
                       entitled to collect all expenses incurred in pursuing the remedies provided in this Section 22, including,
                       hut not limited to, reasonable attorneys’ fees and costs of title evidence
                             23 Release Upon payment of all sums secured by dus Security Instrument Lender shall release this          I
                       Security Instrument Borrower shall pay any recordation costs Lender may charge Borrower a fee for

                       charging of the fee is permitted under Applicable Law
                                                                                 '
                       releasing this Security Instrument but only if the fee is paid to a third party for services rendered and the   »


                             24 Attorneys’ Fees As used in this Security Instrument and the Note attorneys fees shall include          I
                       those awarded by an appellate court and any attorneys fees incurred m a bankruptcy proceeding
                             25 Jury Trial Waiver The Borrower hereby waives any right to a trial by pry in any action
                       proceeding claim or counterclaim whether m contract or tort at law or in equity arising out of or in any
                       way related to this Security Instrument or the Note                                                             I
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                               BY S1GNI1            W Borrower accepts and agrees to the terms and covenants contained   in   this
                        Seci        trum&if and w any Rider executed by Borrower and recorded with it
                        Sigi          anfIfdeliyered in the presence of H                                                                          !
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                                                                                                                      (Seal)
                                                                                Patti Baker                          Borrower
                                  Maryann Cole                                  7393 Landmark Drive                                                i
                                                                                Spring Hill , FL   34606

                                                                                                                     ( Address)

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                                                                                                                         (Seal)



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                                           ^          /                              Baker
                                                                                7393 Landmark Drive
                                                                                Spring Hill FL 34606
                                                                                                                     Borrower




                                                                                                                     ( Address)
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                                                                 (Seal)                                             . (Seal)
                                                               Borrower                                              Borrower
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                                                               Borrower                                              Borrower
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                                                               Borrower                                              Borrower              l




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                          STATE OP FLORIDA,            Hernando
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                             The foregoing instrument was acknowledged before me this                        r    ~2              by
                          Patti Baker , Eric Baker                      f
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                                      «YCOMM«SWIOO <305»                                          Maryann Cole
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